

Matter of Hughes (2021 NY Slip Op 03514)





Matter of Hughes


2021 NY Slip Op 03514


Decided on June 3, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 3, 2021

PM-71-21
[*1]In the Matter of Alana Jean Hughes, an Attorney. (Attorney Registration No. 5699350.)

Calendar Date:June 1, 2021

Before:Garry, P.J., Clark, Aarons, Pritzker and Colangelo, JJ.

Alana Jean Hughes, Murrells Inlet, South Carolina, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Alana Jean Hughes was admitted to practice by this Court in 2019 and lists a business address in the Town of Chester, Warren County with the Office of Court Administration. Hughes now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Hughes' application.
Upon reading Hughes' affidavit sworn to March 5, 2021 and filed April 16, 2021, and upon reading the May 10, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Hughes is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Alana Jean Hughes' application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Alana Jean Hughes' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Alana Jean Hughes is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Hughes is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Alana Jean Hughes shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








